       Case 1:23-cr-00008-WFK          Document 130-3 Filed 06/17/25            Page 1 of 10 PageID #:
                                                  717
            BP-A0288               INCIDENT REPORT
            Dept. of Justice / Federal Bureau of Prisons
                                    Part I - Incident Report
1. Institution:       BROOKLYN MDC                               Incident Report Number: 3915524
2. Inmate's Name                        3. Register Number       4. Date of Incident      5. Time
   MINAYA, RAYMOND                       39131-510                     03-28-2024                1000 hrs
6. Place of Incident                    7. Assignment            8. Unit
   Housing Unit I-61 I02-605                UNASSG                     4 DETC M/W
9. Incident                                                      10. Prohibited Act Code(s)
   108 -- POSSESSING A HAZARDOUS TOOL.                                  108




11. Description Of Incident
    (Date: 03-28-2024   Time:        1000 hrs   staff became aware of incident)

     On March 28, 2024, at approximately 1000 Hours, a search was conducted in Housing Unit I-61,
     specifically, cell I02-605, which was assigned to inmate Minaya, Raymond, Reg. No. 39131-510 and
     inmate Solivan, Joseph, Reg. No. 60865-510. During the course of a search, a rectangular object was
     discovered behind the locker in the common area of the cell. Once the locker was removed, the
     rectangular object was in fact a Purple Motorola Cellular Phone with Sim Card
     #89148000009646902470. Page 38 of the Inmate Admission and Orientation Handbook states that it is
     an inmate's responsibility to keep their area free of contraband. Inmate Minaya, Raymond, Reg. No.
     39131-510 was in possession of Hazardous Tool, specifically, a Purple Motorola Cellular Phone,
     which is contraband and possessing contraband is a violation of Bureau Policy and due to this
     violation the Operation's Lieutenant was notified and inmate Minaya, Raymond was escorted to the
     West Special Housing Unit without further incident.




12. Typed Name/Signature of Reporting Employee                               13. Date And Time
     A Livingston                                                                  03-28-2024 1924 hrs
14. Incident Report Delivered to Above Inmate By              15. Date Report         16. Time Report
    (Type Name/Signature)                                         Delivered               Delivered
    Jefferson                                                     03-28-2024              2012 hrs


     The Government Paperwork Elimination Act (GPEA) of 1998 authorized Federal Agencies the use of
     electronic forms, electronic filing, and electronic signatures to conduct office business.

                                Prescribed by P5270                                 Replaces BP-S288.052
        Case 1:23-cr-00008-WFK          Document 130-3 Filed 06/17/25             Page 2 of 10 PageID #:
                                                   718
            BP-A0288               INCIDENT REPORT
            Dept. of Justice / Federal Bureau of Prisons
Inmate's Name                               Register Number            Incident Report Number
 MINAYA, RAYMOND                             39131-510                 3915524
                                    Part II - Committee Action
17. Comments of Inmate to Committee Regarding Above Incident
     No comments




18. A. It is the finding of the committee that you:            B. X   The Committee is referring the
                                                                      Charge(s) to the DHO for further
        Committed the Prohibited Act as charged.                      Hearing.
        Did not commit a Prohibited Act.                       C. X   The Committee advised the inmate of
        Committed Prohibited Act Code(s)                              its finding and of the right to file
                                                                      an appeal within 20 calendar days.

19. Committee Decision is based on Specific Evidence as Follows:
     Based on the severity of the report the UDC is referring the charge to the DHO for further hearing.




20. Committee action and/or recommendation if referred to DHO (Contingent upon
    DHO finding inmate committed prohibited act)
     LP VISIT 90 DAYS




21. Date And Time Of Action 03-29-2024 1500 hrs  (The UDC Chairman's signature certifies
    who sat on the UDC and that the completed report accurately reflects the UDC
    proceedings.)


  GPHYARS
__________________________            __________________________            ________________________
Chairman (Typed Name/Signature)       Member (Typed Name)                   Member (Typed Name)




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      electronic forms, electronic filing, and electronic signatures to conduct office business.

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      Case 1:23-cr-00008-WFK           Document 130-3 Filed 06/17/25              Page 3 of 10 PageID #:
                                                  719
           BP-A0288               INCIDENT REPORT
           Dept. of Justice / Federal Bureau of Prisons
Inmate's Name                              Register Number             Incident Report Number
 MINAYA, RAYMOND                                39131-510               3915524
              Part III - Investigation                         22. Date & Time Investigation Began
                                                                    03-28-2024 2012 hrs
23. Inmate Advised of Right To Remain Silent: You are advised of your right to remain
silent at all stages of the discipline process. Your silence may be used to draw an
adverse inference against you at any stage of the discipline process. Your silence
may not be used to support a finding that you have committed a prohibited act.

    The Inmate Was Advised Of The Above Right By               Jefferson
    At (Date/time) 03-28-2024 2012 hrs
24. Inmate statement and attitude
    On the above date and time inmate MINAYA, RAYMOND 39131-510 was read his rights during the
    institutional disciplinary process, which he stated he understood. The inmate was also provided with
    a copy of the incident report.

    Inmate MINAYA displayed a fair attitude. Inmate MINAYA stated, "It's mine."



25. Other facts about the incident, statements of those persons present at scene,
    disposition of evidence, etc.
    Please view uploaded evidence.

    Inmate MINAYA, RAYMOND 39131-510 did not request any witnesses.

    All other pertinent information pertaining to this case can be found in Section 11 of this incident
    report.




26. Investigator's comments and conclusions
    Based on the information provided in the body of this report, the evidence, and the inmate's
    statement, section 11 does contain enough evidence to support the charge. Inmate MINAYA,
    RAYMOND 39131-510 has been appropriately charged with the violation of

    Code:
    108 Possession, manufacture, introduction, or loss of a hazardous tool.
27. Action taken
    Incident Report referred to UDC. Investigation/evidence supports charges. Inmate placed in Special
    Housing Unit pending UDC/DHO.




  Date and Time Investigation Completed: 03-28-2024 2027 hrs

 Printed Name/Signature Of Investigator: Jefferson

                         Investigator Title: Acting Activities LT




                                Prescribed by P5270                                    Replaces BP-S288.052
   Case 1:23-cr-00008-WFK   Document 130-3 Filed 06/17/25   Page 4 of 10 PageID #:
                  METROPOLITAN DETENTION CENTER
                                       720


                          BROOKLYN, NY
                      EVIDENCE PHOTOGRAPH
Type of Incident:                    Contraband Recovered
Inmates Name/Reg. No.                Solivan, Joseph Reg. 60865-510
                                     Minaya, Raymond Reg. 39131-510

Location:                   I-A I02-605
Recovered By:               SIS Tech A. Livingston
Photograph(s) By:           SIS Tech A. Llerena
Date and Time recovered:    3/28/2024 10:00 AM
Description: (1) Purple Motorola cellular phone No IMEI
displayed. (1) Sim card: 8914000009646902470.
Case 1:23-cr-00008-WFK   Document 130-3 Filed 06/17/25   Page 5 of 10 PageID #:
                                    721
Case 1:23-cr-00008-WFK   Document 130-3 Filed 06/17/25   Page 6 of 10 PageID #:
                                    722
       Case 1:23-cr-00008-WFK              Document 130-3 Filed 06/17/25               Page 7 of 10 PageID #:
                                                      723
            BP-A0304         DISCIPLINE HEARING OFFICER REPORT                          IR#: 3915524
                                                                                        Reg#: 39131-510
            Dept. of Justice / Federal Bureau of Prisons                                  MINAYA, RAYMOND
Institution: BROOKLYN MDC                                  Incident Report Number: 3915524
NAME OF INMATE: MINAYA, RAYMOND                            REG.NO.: 39131-510     UNIT: 4 DETC M/W
Date of Incident Report: 03-28-2024                        Offense Code(s): 108
Date of Incident:      03-28-2024

Summary of Charges:
       108 -- POSSESSING A HAZARDOUS TOOL.


I.     NOTICE OF CHARGE(S)
       A.   Advanced written notice of charge (copy of Incident Report) was given to
            inmate on 03-28-2024  at 2012 hrs (by staff member) Jefferson


       B.   The DHO Hearing was held on           04-09-2024          at    0931 hrs


       C.   The inmate was advised of the rights before the DHO by (staff member):
            GPHYARS                                   on       03-29-2024

            and a copy of the advisement of rights form is attached.
       D.   Delay in Process        None

II.    STAFF REPRESENTATIVE
       A.   Inmate waived right to staff representative:                    [Yes] X       [No]

       B.   Inmate requested staff representative and
            NA                                                                                     appeared.

       C.   Staff Representative's Statement:
            NA

       D.   Requested staff representative declined or could not appear but inmate
            was advised of option to postpone hearing to obtain another staff
            representative with the result that:
            NA


       E.   Staff representative         NA                                             was appointed.


III.   PRESENTATION OF EVIDENCE
       A.   Inmate ( X ) admits             (   ) denies the charge(s).
       B.    Summary of Inmate Statement:
             The inmate stated he was issued a copy of the incident report. He did not request a staff
             representative, nor did he request witnesses provide testimony on his behalf during his
             hearing. He did not submit any documentary evidence for review by the DHO. He stated he
             understood his rights before the DHO and he was ready to proceed with his DHO hearing.

             He stated I plead guilty.




                             Prescribed by P5270                              Replaces BP-304(52) of Jan 88
       Case 1:23-cr-00008-WFK         Document 130-3 Filed 06/17/25            Page 8 of 10 PageID #:
                                                 724
            BP-A0304       DISCIPLINE HEARING OFFICER REPORT                      IR#: 3915524
                                                                                  Reg#: 39131-510
            Dept. of Justice / Federal Bureau of Prisons                            MINAYA, RAYMOND
      C.     Witnesses

      1.     The inmate waived right to witnesses.          [Yes] X        [No]

      2.     The following persons were called as witness at this hearing and appeared
             (Each witness name and statement listed below):
             NA



      3.     The following persons requested were not called for the reason(s) given
             (Each witness name and statement listed below):
             NA


      4.     Unavailable witnesses were requested to submit written statements and
             those statements received were considered (Each witness name and
             statement listed below):
             NA


       D.   Documentary Evidence. In addition to the Incident Report and
            Investigation, the DHO considered the following documents:
             Incident Report - Photographs -- (BOP-IRPHO)




       E.   Confidential information was used by DHO in support of his findings, but
            was not revealed to the inmate. The confidential information was documented
            in a separate report. The confidential information has been (confidential
            informants have been) determined to be reliable because:
            NA


IV.    FINDINGS OF THE DHO
      X A. The act was committed as charged.                 C. No prohibited act was committed:
         B. The following act was commmitted:                   Expunge according to inmate
        _______________________________                         discipline PS.

V.    SPECIFIC EVIDENCE RELIED ON TO SUPPORT FINDINGS (Physical evidence, observations
      written documents, etc.)
      Your due process rights were read, and reviewed with you by the DHO, at the time of your hearing.
      You stated you understood your rights, and had no documentary evidence to present. You did not
      request the services of a staff representative. You waived witnesses to provide testimony on your
      behalf.

      Based on the weight of the evidence the DHO concluded the prohibited act of Code 108:
      Possession of a Hazardous Tool was committed. The DHO based this decision on the following
      evidence:

      On March 28, 2024, at approximately 1000 Hours, a search was conducted in Housing Unit I-61,
      specifically, cell I02-605, which was assigned to inmate Minaya, Raymond, Reg. No. 39131-510 and
      inmate Solivan, Joseph, Reg. No. 60865-510. During the course of a search, a rectangular object
      was discovered behind the locker in the common area of the cell. Once

                           Prescribed by P5270                         Replaces BP-304(52) of Jan 88
       Case 1:23-cr-00008-WFK            Document 130-3 Filed 06/17/25              Page 9 of 10 PageID #:
                                                    725
            BP-A0304         DISCIPLINE HEARING OFFICER REPORT                        IR#: 3915524
                                                                                      Reg#: 39131-510
            Dept. of Justice / Federal Bureau of Prisons                                MINAYA, RAYMOND
       the locker was removed, the rectangular object was in fact a Purple Motorola Cellular Phone with
       Sim Card #89148000009646902470. Page 38 of the Inmate Admission and Orientation Handbook
       states that it is an inmate's responsibility to keep their area free of contraband. Inmate Minaya,
       Raymond, Reg. No. 39131-510 was in possession of Hazardous Tool, specifically, a Purple Motorola
       Cellular Phone, which is contraband and possessing contraband is a violation of Bureau Policy and
       due to this violation the Operation's Lieutenant was notified and inmate Minaya, Raymond was
       escorted to the West Special Housing Unit without further incident.

       Also, the DHO considered your testimony during the DHO hearing.

       NOTE: To possess means to have on ones person/under ones dominion or control of hard
       contraband identified.

       The DHO considered your continued disruptive behavior, also your willingness to accept FULL
       responsibility for your actions, and the seriousness of this particular prohibited act infraction. The
       fact there is a zero tolerance for inmates to utilize or possess any types of hazardous tools
       (Unauthorized Electronic Devices and/or Accessories) in a Correctional Setting, when determining
       your slightly progressive sanctions for this prohibited act.

       The DHO expects these sanctions will serve to deter you from similar misconduct in the future and
       convince you to abide by all institution rules and regulations.



VI.    SANCTION OR ACTION TAKEN
       108 (FREQ 1) - DIS GCT 41 DAYS, 108 (FREQ 1) - DS 30 DAYS, 108 (FREQ 1) - LP VISIT 365 DAYS




VII.   REASON FOR SANCTION OR ACTION TAKEN
       The action/behavior on the part of Possession of a Hazardous Tool significantly threatens the
       health, safety, and welfare of not only himself, but of all persons, whether another inmate or any
       other person, who are involved in the act. This will not be tolerated. Past evidence has shown that
       disruptive conduct has led to serious damage to the institution, as well as serious injury to staff
       and inmates involved and not involved in the disruptive conduct. The sanctions imposed by the
       DHO were taken to inform the inmate that he will be held responsible for his actions/behaviors at all
       times.

       The sanction involving Disciplinary Segregation was taken to deter any further negative behavior
       and to enforce the standard of inmate being held responsible for their actions. A total of 30 days
       Disciplinary Segregation is being implemented for this incident report.

       The sanctions imposed involving Disallowance of Good Conduct Time (41 days) and Loss of
       Privileges (Visits 1 years), were also taken to enforce the standard of inmates being held
       responsible for their actions.

       The DHO considered your continued disruptive behavior, also your unwillingness to accept full
       responsibility for your actions, and the seriousness of this particular prohibited act infraction. The
       fact there is a zero tolerance for inmates to utilize or possess any types of hazardous tools
       (Unauthorized Electronic Devices and/or Accessories) in a Correctional Setting, when determining
       your slightly progressive sanctions for this prohibited act.

       You should be aware, any future disruptive behavior, will be cause for the DHO to consider more
       significant progressive disciplinary sanctions, in accordance with P.S. 5270.09, Page 55, in an effort
       to convince you this type of behavior is not acceptable, and it is imperative to abide by all
       institutional rules, and regulations. This type of behavior will ABSOLUTELY not be tolerated.



                             Prescribed by P5270                            Replaces BP-304(52) of Jan 88
         Case 1:23-cr-00008-WFK        Document 130-3 Filed 06/17/25            Page 10 of 10 PageID #:
                                                   726
              BP-A0304       DISCIPLINE HEARING OFFICER REPORT                     IR#: 3915524
                                                                                   Reg#: 39131-510
              Dept. of Justice / Federal Bureau of Prisons                           MINAYA, RAYMOND
        The DHO expects these sanctions will serve to deter you from similar misconduct in the future and
        convince you to abide by all institution rules and regulations.




VIII.     APPEAL RIGHTS: X The inmate has been advised of the findings, specific
          evidence relied on, action and reasons for the action. The inmate has been
          advised of his right to appeal this action within 20 calendar days under
          the Administrative Remedy Procedure. A copy of this report has been given
          to the inmate.

IX.       Discipline Hearing Officer
Printed Name                              Signature                                 Date

      E. ROGERS                                E. ROGERS                              04-16-2024

DHO Report Delivered to Inmate by:


      T LEE                                    T LEE                                  04-23-2024 1214 hrs
 Printed Name of Staff                    Signature of Staff                       Date & Time Delivered




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